Case 2:04-cr-20463-.]Pl\/| Document 36 Filed 08/26/05 Page 1 of 4 PagelD 51

UN|TED STATES DlSTR|CT COURT FNED BY ,
WESTERN DlSTR|CT OF TENNESSEE "“ -c-
MEMPH|S DlVlS|ON 05 AUG 26 P 5_ 00
UN|TED STATES OF AMER|CA
_v.. 2:04CR20463-01-M| W’l?' i'.`\" §"iq?li-`l;,')HjS r
TlMOTHY VO
Jack McNeill Retained
Defense Attorney
147 Jefferson Avenue, #1104
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Apri| 21, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section M<£M Offense Numberjsj
Concluded
18 U.S.C. § 2113(b) Bank Larceny 06/15/2004 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/20/1980 August 25, 2005
Deft’s U.S. Marsha| No.: 20043-076

Defendant’s Maiiing Address:
3547 Duane Cove
Memphis, TN 38118

candid

JON PH|PPS MCCALLA
N D STATES DlSTR|CT JUDGE

August_&. 2005
This document entered on the docket s earl co llancq
with Hule 85 and/or 32(b) FRCrP on j 3 511 z §§

Case 2:04-cr-20463-.]Pl\/| Document 36 Filed 08/26/05 Page 2 of 4 PagelD 52

Case No: 2:04CR20463-01-N|| Defendant Name: Timothy VO Page 2 of 3

PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years.

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first five days of each mcnth;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ofEcer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or

employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance, or any paraphernaiia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony uniess granted permission to do so by the probation offic¢r;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20463-.]Pl\/| Document 36 Filed 08/26/05 Page 3 of 4 PagelD 53

Case No: 2:04CR20463-01-M| Defendant Name: Timothy VO Page 3 cf 3

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation of&cer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to contirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probation Office.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). Al| of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $1,000.00 A|ready Paid

The Specia| Assessment shall be due immediately

FlNE
A Fine in the amount of $ 1,000.00 is imposed.

RESTITUT|ON
No Restitution was ordered .

   

UNITED sTATE DRISTIC COUR - WETERN DSTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20463 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

.1 ack McNeil

MCNEIL LAW OFFICE
147 .1 efferson Ave.

Ste. 1 104

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

